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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

IN RE:                                         )      In Proceedings
                                               )      Under Chapter 13
DAVID AROMANDO,                                )
                                               )      BK     23-30530
                 Debtor.                       )
                                               )
DAVID AROMANDO,                                )
                                               )
                 Objector,                     )
and                                            )
                                               )
ILLINOIS DEPARTMENT OF                         )
      REVENUE,                                 )
           Creditor.                           )

                                 OBJECTION TO CLAIM #16-1

         COMES NOW the Debtor, David Aromando, by and through his attorney, J.D. Graham,

and for his Objection to Claim states as follows:

         1. On December 28, 2023, the Illinois Department of Revenue filed Proof of Claim #16

in the amount of $1124.58, which consisted of $984.54 priority and $140.04 unsecured.

         2. The attachment to said Proof of Claim indicated the Debtors 2022 tax return “liability

is estimated based on available information because the return has not been filed”.

         3. The Debtor has filed tax returns for 2022.

         4.   Debtor requests the portion of Proof of Claim #16-1 indicating the 2022 tax return

“liability is estimated based on available information because the return has not been filed” be

stricken and that Proof of Claim #16-1 be allowed in the amount of $978.58, which consists of

$838.54 priority and $140.04 unsecured.

         WHEREFORE, the Debtor prays this Court to enter an Order granting the Illinois

Department of Revenue leave to file an Amended Proof of Claim once they have completed their
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review of Debtors 2022 tax return, and until such time, Debtor prays this Court enter and Order

stricking the portion of Proof of Claim #16-1 indicating the 2022 tax return “liability is estimated

based on available information because the return has not been filed”, allowing Proof of Claim

#16-1 in the amount of $978.58, which consists of $838.54 priority and $140.04 unsecured, and

for such other relief as deemed appropriate.

                                                     DAVID AROMANDO,

                                                     By: /s/ J.D. Graham
                                                     J.D. Graham, #06211732
                                                     Attorney for Debtor
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